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 DOWD, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                  )
 United States of America,                        )     CASE NO. 1:03 CR 165
                                                  )
                 Plaintiff,                       )
                                                  )     MEMORANDUM OPINION
          v.                                      )     ANALYZING THE SENTENCING
                                                  )     FACTORS SET FORTH IN 18 U.S.C.
 Troy Williams,                                   )     SECTION 3553(a)
                                                  )
                 Defendant.                       )

                                           I. Introduction

          The Court conducted the re-sentencing hearing of the defendant Troy Williams.1 The

 Court had earlier determined that the defendant’s total offense level was 29 with a criminal

 history category of I calling for a sentencing range under the advisory sentencing guidelines of

 87 to 108 months. At the conclusion of the sentencing hearing, the Court sentenced the

 defendant to confinement for a period of 96 months with supervised release for a period of five

 years.

                          II. The Analysis Required by 18 U.S.C. § 3553(a)




          1
         The Sixth Circuit Court of Appeals remanded the case of Troy Williams for re-
 sentencing. Prior to the sentencing hearing, the Court filed two separate orders in response to
 the remand of the Sixth Circuit. The first order was 20 pages in length. See Docket No. 257.
 The second order was filed on November 22, 2006 and in that order the Court found that the
 defendant’s offense level was 29 and with a criminal history category I called for an advisory
 sentencing range of 87 to 108 months. The court indicated in that order (Docket No. 262) that it
 would consider any arguments as to whether it should vary up or down from the sentencing
 range and would also consider any arguments that counsel wished to make with respect to an
 analysis of the sentencing factors under the provisions of 18 U.S.C. Section 3553(a).
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        The Court sets forth its analysis of the sentencing factors required by Booker and the

 statutory guidance provided by 18 U.S.C. §3553(a) as follows:

        (a) Factors to be considered in imposing a sentence.

        The court shall impose a sentence sufficient, but not greater than necessary, to comply

 with the purposes set forth in paragraph (2) of this subsection. The court, in determining the

 particular sentence to be imposed, shall consider -

        (1) The Nature and Circumstances of the Offense and the History and
        Characteristics of the Defendant

        The offense conduct has been described in paragraphs 14 through 25 of the presentence

 report and which follow:

                 The following information was obtained from the factual basis
                 portion of the Plea Agreement between the defendant and the
                 government, and the affidavit in support of the arrest warrant
                 issued in the instant offense.

                 Beginning at least as early as November of 2002, and continuing
                 through March of 2003, Marcellus Smith, Rohan A. Wilson, Tony
                 Wilson Green, aka Kevin Haughton, aka Jiba, Troy Williams, aka
                 Omar Pitter, Kerven Telsey, aka Jean Fritz, and Regina
                 Stackhouse, conspired to distribute more than 5 kilograms but less
                 than 15 kilograms of cocaine.

                 It was part of the conspiracy that Kerven Telsey introduced
                 Marcellus Smith to Rohan Wilson. Later Marcellus Smith began
                 obtaining quantities of cocaine from Rohan Wilson. Rohan Wilson
                 employed Troy Williams, aka Omar Pitter and Tony Wilson
                 Green, aka Kevin Haughton, to drive quantities of cocaine from
                 Florida to the Cleveland, Ohio area. Rohan Wilson would then fly
                 into Cleveland and meet the drivers at Marcellus Smith’s
                 apartment at 12613 Forest Avenue (down), Cleveland, Ohio.

                 Once at Marcellus Smith’s apartment, Rohan Wilson would
                 provide Smith with quantities of cocaine to distribute to his

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                 customers. Rohan Wilson, Tony Wilson Green, and Troy
                 Williams, would also sell amounts of cocaine to their various
                 customers from Marcellus Smith’s home.

                 The first time Rohan Wilson had drivers bring cocaine to
                 Cleveland, Ohio was in the fall of 2002. During that trip, Rohan
                 Wilson, Kerven Telsey, Troy Williams and others coordinated the
                 delivery of approximately 5 kilograms of cocaine. When the
                 cocaine was sold, Marcellus Smith paid Rohan Wilson for the
                 cocaine he had received and thereafter Wilson departed.

                 In March of 2003, Rohan Wilson, Kerven Telsey, Tony Wilson
                 Green, and Troy Williams and others coordinated another delivery
                 of cocaine to Marcellus Smith from Florida to Cleveland. Wilson
                 paid Green and Williams to drive a shipment of cocaine from
                 Florida to Smith’s home in Cleveland, Ohio. Williams waited in
                 town while Wilson, Smith, Telsey and Green sold the cocaine.

                 On March 20, 2003, members of the GLIGI, Cleveland Police
                 officers and FBI personnel made entry at 12613 Forest Avenue
                 (up) pursuant to a search warrant. As entry was made, the officers
                 discovered that the second floor residence was only occupied by
                 seven females. Officers then knocked on the entrance to the first
                 floor residence (down), and observed Rohan Wilson attempting to
                 exit through the first floor window. Officers then entered the first
                 floor, securing the residence.

                 While securing the first floor apartment, Kerven Telsey, Marcellus
                 Smith, Rohan Wilson, Tony Green, and Henry Smith Jr. (not
                 named in Indictment), were identified and detained.

                 During the search of 12613 Forest Avenue (down), Officers and
                 agents recovered the following items: (1) two kilogram sized
                 sealed packages of suspected cocaine with a weight of more than
                 1000 grams each, (2) one .40 caliber S&W semi-automatic pistol
                 with one full magazine, (3) two digital scales, (4) one cocaine
                 press instrument, and (5) two pipes containing suspected drug
                 residue.

                 During the search of 12613 Forest Avenue (up), officers recovered
                 the following items: (1) five heat sealed packages containing U.S.
                 currency totaling $84,000.00, (2) one Footlocker bag containing

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                 over 100 grams of suspected crack cocaine and over 300 grams of
                 suspected powder cocaine.

                 On 3/21/03 Officers arrested Troy Williams at the Super 8 Hotel
                 located at 3795 Orange Place, Orange, Ohio, where Williams
                 consented to a search of his suitcase. Upon searching the suitcase,
                 the officers discovered a large amount of currency wrapped in
                 cellophane totaling $29,700.00. The total amount of currency
                 found in his possession was $30,200.

                 The total amount of cocaine possessed and distributed by the
                 defendant during his involvement in the conspiracy and directly
                 attributable to him is between 5 and 15 kilograms.

        As indicated in the order filed on November 22, 2006, the defendant, Troy Williams,

 submitted a lengthy statement describing his criminal conduct. (See pages five through nine in

 the order filed on November 22, 2006, i.e, Docket No. 262).

        The defendant has a Jamaican background; he was born on May 10, 1982 or possibly

 June 28, 1979. He contends that his education was limited to the sixth grade. He is subject

 deportation upon the completion of his sentence. The defendant reports that he has never

 married and is not the father of any children. He reports that he was born and raised Jamaica but

 came to Florida at the age of ten. He reports that he uses marijuana on a regular basis but he has

 had no substance abuse treatment or counseling. He reports that his education is limited to that

 which he received in Jamaica. His employment background is minimal. He reports that he has

 been supported by his family.

        (2) The Need for the Sentence Imposed

                 (A) to reflect the seriousness of the offense, to promote respect
                 for the law, and to provide just punishment for the offense;




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        The defendant was engaged in a cocaine conspiracy and played a substantial role

 requiring a sentence between the advisory guideline range of 87 to 108 months. The Court’s

 sentence of 96 months reflects the seriousness of the offense and is designed to promote respect

 for the law and provide just punishment for the offense.

                 (B) to afford adequate deterrence to criminal conduct;

        A sentence of 96 months should provide adequate deterrence to criminal conduct to those

 persons who know the defendant and are informed about the nature of his sentence. Whether

 such a sentence will provide adequate deterrence to criminal conduct by the defendant’s friends,

 relatives and associates, is problematical.

                 (C) to protect the public from further crimes of the defendant;

        The defendant will be deported upon the completion of his sentence. Whether a sentence

 of 96 months will persuade the defendant that he should cease and desist from further criminal

 conduct in the event he returns to the United States, a likely event in the Court’s opinion, is

 difficult to assess. However, a sentence of 96 months certainly has the potential of protecting the

 public from further crimes of the defendant in the event he chooses to return to the United States.

                 (D) to provide the defendant with needed educational or
                 vocational training, medical care, or other correctional
                 treatment in the most effective manner;

        The Court is uncertain whether the defendant, scheduled for deportation, will be given

 the opportunity for educational and vocational training, but he certainly would profit from both

 educational and vocational training as it appears that his education is very limited and he

 possesses no apparent employment skills. The Court has been advised by the defendant’s



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 counsel that he will not be given the opportunity to be given drug treatment while incarcerated

 because of his deportation status. Hopefully, the prison officials will give the defendant such an

 opportunity, but this is an issue for another branch of the government over which this Court has

 no control.

                  III. Consideration of the need to avoid unwarranted sentencing
                      disparities among defendants who have been found guilty
                      of similar conduct as required by 18 U.S.C. § 3553(a)(6)

        The indictment in this case, in addition to the defendant Troy Williams, names the

 following defendants:

 1.     Rohan Antonio Wilson

 2.     Marcellus Smith

 3.     Tony Wilson Green aka Kevin Haughton aka Jiba

 4.     Kerven Telsey

 5.     Regina Louise Stackhouse

        At this point in the sentencing process, the Court has sentenced the following defendants

 to the following terms of imprisonment after finding, with respect to each defendant, the offense

 level and criminal history:

 1.     Rohan Antonio Wilson - Offense level 31 with a criminal history category of I calling for
        a sentencing range of 108 to 135 months but with a mandatory minimum of 120 months
        with an imposed sentence of 120 months imprisonment with five years supervised
        release.
 2.     Marcellus Smith - Offense level 29 with a criminal history category of I calling for a
        sentencing range of 87 to 108 months with an imposed sentence of 88 months with five
        years supervised release.




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 3.     Tony Wilson Green - Offense level 25 with a criminal history category of II calling for a
        sentencing range of 63 to 78 months with an imposed sentence of 66 months with four
        years supervised release.

 4.     Kerven Telsey - Offense level 18 with a criminal history category II calling for a
        sentencing range of 30 to 37 months with an imposed sentence of 30 months with three
        years supervised release.

 5.     Regina Louise Stackhouse2 - Offense level 12 with a criminal history category I calling
        for a sentencing range of 10 to 16 months with an imposed sentence of five months
        custody and five months home detention with supervised release for three years.

                                          CONCLUSION

        For the reasons set forth herein, a sentence of 96 months with supervised release for five

 years and within the advisory guideline range, is a sentence sufficient, but not greater than

 necessary to comply with the purposes of 18 U.S.C. § 3553(a)(2).



        IT IS SO ORDERED.



  December 20, 2006                              /s/ David D. Dowd, Jr.
 Date                                          David D. Dowd, Jr.
                                               U.S. District Judge




        2
         Regina Stackhouse’s conviction was limited to a violation of 21 U.S.C. Section 856(a)
 for maintaining a residence for the purpose of distributing, using and storing a controlled
 substance.

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